IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

Form To Be Used By A Prisoner in Filing a Complaint
Under the Civil Rights Act, 42 U.S.C. § 1983 United States Courts

 

LILLY} ANNE HOPKINS, AKA Southern District of Texas
SAMUEL HOPKINS, TDCJ# 1986831 [LED
Plaintiff’s name and ID Number FEB 18 2020

JOHN B. CONNALLY UNIT

David J. Bradley, Clerk of Court

 

Place af Confinement

Vv.

> CASE NO: 4B19-cv-05041
(Clerk will assign the number)

LORIE DAVIS _ TDCI_CID Director
PO Box 99, Huntsville, TX 77342

 

Defendant’s name and address

LANNETTE LINTHICUM  TDCJ Health Services Div. Dir.
2 Fimancial Plaza, ste 625, Huntsville, TX 77340

 

Defendant’s name and address

DR. JOSEPH ‘PENN - UTMB, Head of TDCI Psychiatry
UTMB, 301 University Rlvd, Galveston, TX 77555

Defendant’s name and address
(DO NOT USE “ET AL.”) |

| AMENDED COMPLAINT

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v

INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1.

To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

Your complaint must be legibly handwritten in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE
REVERSE SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND
WRITE ON IT.

You must file a separate complaint for each claim you have unless the various claims are all related to the
same incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make
a short and plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

When these forms are completed, mail the original and one copy to the Clerk of the United States Court for
the jappropriate District of Texas in the Division where one or more named defendants are located, or where
the incident giving rise to your claim for relief occurred. The list labeled as “VENUE LIST” is posted in your
unit law library. It is a list of Texas prison units indicating the appropriate District Court, the Division and an
address of the Divisional Clerks.

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FILING FEE AND IN FORMA PAUPERIS

1.

2.

In order for your complaint to be filed, 1t must be accompanied by the filing fee of $350.00.

If you do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed in forma pauperis. In this event you must complete the application to proceed in forma pauperis
(IFIP), setting forth the information to establish your inability to prepay the fees and costs or give security
therefore. You must also include a six (6) month history of your Inmate Trust Account. You can acquire the
application to proceed JFP and appropriate Inmate Account Certificate from the law library at your prison

unit.

28 (U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, “...if a prisoner

brings a civil action or files and appeal in forma pauperis, the prisoner shall be required to pay the full
amount of a filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing

fee or an initial partial filing fee and monthly installments until the entire amount of the filing fee has been
paid by the prisoner. If you submit the application to proceed in forma pauperis, the Court will apply 28
U.S.C. 1915 and, if appropriate, assess and collect the entire filing fee or an initial partial filing fee, then

’ monthly installments from your Inmate Account, until the entire $350 filing fee has been paid.

|
If you intend. to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before
submitting it to the Court.

CHANGE OF ADDRESS

i is your responsibility to inform the Court of any change of address and its effective date. Such notice
should

e marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any

motions(s) for any other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may
result in the dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedures.

i.

PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in the state or federal court relating to
imprisonment? YES XXX NO

B. If your answer to “A” is yes, describe each lawsuit in the space below. (If there is more than one lawsuit,
describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit:

 

2. Parties to previous lawsuit:
Plaintiff(s):

 

Defendant(s):

 

3. Court (If federal, name the district; if state, name the county)

 

 

Docket Number:

 

 

Name of judge to whom case was assigned:

Do

Disposition: (Was the case dismissed, appealed, still pending?)

 

7. Approximate date of disposition:

 

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I. PLACE OF PRESENT CONFINEMENT; J9hn 8. Connally Unit

Il. EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted both steps of the grievance procedure in this institution? _XXX YES NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

IV. PARTIES TO THE SUIT:

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A.. Name of address of plaintiff: Lilly Anne Hopkins, aka Samuel Hopkins #1986931
| 899 FM 632, Kenedy, TX 78119

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B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

 

Defendant #1: Lorie Davis - TDCJ-CID Director
P.O. Box 99, Huntsville, TX 77342

 

 

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
She is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

 

Defendant #2: Lannette Linthicum - TDCI Health Services Division Dir. CMHCC Member
2 Financial Plaza, Ste 625, Huntsville, TX 77340

 

 

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
She is violating my Eighth Amendment rights guaranteed by the U.S..Constitution

 

Defendant #3: Dr. Joseph Penn - UTMB, Head of TDCI Psychiatry
UTMB, 301 University Blvd, Galveston, TX 77555

 

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
He is violating my Eighth Amendment rights guaranteed by the U. 8. Constitution

 

Defendant #4: C ember and Chairperson
UTMB, 301 University Blvd, Galveston, TX 77555
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Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

 

He is violating my Eighth Amendment rights guaranteed by the U.S. Constitution
Defendant #5: See attached list.

 

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Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

 

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ATTACHMENT | TO SECTION Iv PARTIES TO THIS SUIT

Defendant #5; Ben Raimar, M.D. - CMHCC Member
UTMB, 391 University Blvd, Galveston, TX 77555
He is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

| .
Defendant #6; Cynthia dumper, M.D. - CMHCC Member
UTMB, 301 University Blvd, Galveston, TX 77555
She is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

Defendant #7; Erin Wyrick - CMHCC Member
UTMB, 3014 University Blvd, Galveston, TX 77555
She is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

Defendant #85 Preston Johnson, Jr. - CMHCC Member
UTMB, 301 University Blvd, Galveston, TX 77555
He is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

- Defendant #9; F, Parker Hudson III, M.D. - CMHOC Member
UTMA, 301 University Blvd, Galveston, TX 77555
He is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

Defendant #103 -Jahn Burmusa, M.D. - CMHCC Member
UTMB, 301 University Blvd, Galveston, TX 77555
He is violating my Eighth Amendment rights guaranteed by the U.S. Constitution

Defendnat #11; Kelly Garcia - CMHCC Member
UTMB, 301 University Blvd, Galveston, TX 77555
They are violating my Eighth Amendment rights guaranteed by the U.S. Constitution
V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is; what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give any
legal argument or cite any cases of statutes. If you intend to allege a number of related claims, number and set
for' th each claim in a separate paragraph. Attach extra pages if necessary, but remember that the complaint

must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR

COMPLAINT. See Attached.

 

 

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VI. RELIEF: State briefly exactly what you want the court to do for you. Make no legal arguments. Cite not
= or statutes.

cee Attached.
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| :
Voi. GENERAL BACKGROUND INFORMATION;

A. State, in complete form, all names you have ever used or been known by including any and all aliases:

lesty Anne Hopkins, Samuel Thomas Hopkins, Sugar Hear, Sammi

B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you, if know to you.

i" 966831

VIII. SANCTIONS:

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A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES XXXNO

B. If your answer is “yes”, give the following information for every lawsuit in “which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)
1, Court that imposed sanctions (If federal, give district and division):
21 Case Number: |

 

 

5 ' Approximate date sanctions were imposed:

 

‘ Have the sanctions been lifted or otherwise satisfied? YES NO

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ATTACHMENT. TO SECTION V. STATEMENT OF CLAIM

1. Plaintiff Lilly Anne Hopkins, legal name Samuel Hopkins TDCI# 1986831 is an
incarcerated male-to-female transsexual/transgender individual. She has had permanent
and irreversible changes to her body as part of her transition and is living to

the fullest extent possible as a woman. Respectfully she requests the Court, and

the parties to this action, ta use female pronouns in referencing her. Both of

the Gender Specialists treating her have also acknowledged her as a transgender’

female and ‘have adopted the use of female pronouns.

2. Plaintiff was diagnosed as a reported histary of Gender Dysphoria as of January

26, 2016. hetnetts was formally diagnosed with Gender Dysphoria (GD) as of October 10th,
20164. There is documentation of both of these diagnoses in the written medical

record. GD,) previously known as Gender Identity Disorder (GID), is a condition

relating to) clinically significant distress caused by a discrepancy between a

Person's gender identity (internal sense of whether one is male or female) and

sex assigned at birth (and the associated oender role and/or primary or secondary

sex characteristics). GD, if left untreated, can result in clinically significnt
psychological distressm, dysfunction, debilitating depression, and for some suicidality
and death.
3. From the summer of 3003 until the time of her incarceration in December of

2012 the plaintiff lived as a woman part time. The plaintiff's condition relates

to the distress that she feels because her gender identity does not line up with

 

both her primary and secondary sex characteristics and her gender role and expression.
When I dress and groom as a woman I no longer feel trapped in a male exteriar.

My outsides |match my inside sense of being female and there is unity. It gives

me dignity and reduces greatly the distress I feel in this body. .

4. In Jailjand initially in Prison I attempted to hide my transgender status but

T could not jstand the intense distress of not treating my condition, ultimately

leading to an exceptional number of suicide attempts before finally deciding to
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|
get help! In January of 2016 I sought to continue Hormone Replacement Therapy (HRT).
I sought ets, mul tiers times but was unsuccessful when parties involved refused
to make the appropriate referrals and assist me. The consequences of lack of initiation
af hormones when medically necessary includes a high Llikelthood of negative outcomes
|

such as surgical self-treatment by autocastration, depressed mood, dysphoria and/or

 

suicidality. During the period of non treatment I both castrated myself and attempted

 

suicide.
5, I castrated myself at the Ellis Unit in Huntsville Texas on Saturday March

|
12th, 2016 at evening time. I was living as a man at a male prison and was extremely

|
uncomfortable in my body and gender expression, I was experiencing intense emotional

distress le began to formulate a plan to remove my testicles. I already had the
plan and supplies ready and in place which I had been preparing for weeks when

I got a Pinal "oush' by a guard who said "vou ain't no woman, you got balls between
your legs jdon't ya." She also ordered me to remove my makeup. Irregardless the
castration would have happened but this did give a good push. The distress I felt
in that body was significant.

6. The initial plan was to cut off circulation using three rubber bands but after
an hour I did not think I could make it the days necessary due ta the intense

pain so I broke open two razors ta procure four blades. I then used the blades

to cut neh my scrotal sac, remove most of the sac, and then to severe everything
outside my|body. The pain was intense but the emotional pain that I felt was more
intense and propelled me forward.

7. The last thing I severed was a cord of some kind, either a vein or an artery.
It began pouring blood out and I could not stop the flow of blood. I flushed all
tissue so that it couldn't be saved and then sought medical attention while applying
pressure. ended up getting an emergency transfusion and then sent to another

hospital for surgery. Post op I asked if it was all gone and when they confirmed

that it was) I laughed and cried with relief and joy.
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8. The autocastration has impacted my treatment plan in minimal ways in that

my treatment plan isn't tailored to my needs with the exception of HRT. In that
respect it has eliminated. the need for testosterone blockers which are normally
taken as alpart of HRT. In my case my testosterone levels are low by typical
female “veneers

9, The autocastration's impact on my disorder has been a significant and positive
One, It is'in fact a procedure which is part of Sexual Reassignment Surgery,

which IT hope to one day more fully complete. It has helped me to have greater

comfort with my body through the elimination of part of my primary male sex characteristics.

|

It has helped me to walk and sit in a more feminine manner and has made gender

 

appropriate, underwear more appropriate. It has given me greater comfort in my
body and sehoee with my disorder. |

10. Following the autocastration I was sent to a mental health unit and I again
sought help) for the gender issues. I was not successful in receiving treatment
at that time but was finally referred to the appropriate people. I did inform
the mentali:nealth staff that I would likely kill myself within the year. In the
mental venth unit my GD worsened as I could no longer even shave or groom in

a feminine manner as I was accustomed ta. I tried plucking with my fingers but

this did no |jgood. The conditions there seriously aggravated my GD; I was released

back to my unit but was there unstable and facing going back to the mental health
unit. Still haveing received no help for GD and facing a situation which would

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exacerbate my condition I attempted suicide by slicing into my neck and severiing

|
my jugular veins using a razor blade. OffiG@ers found me covered in blood and lying
in a pool of blood and provided emergency medical attention, including being life
Plighted, saving my life. This occurred on June 2hth, 2016.
11. 8n October 10th, 2016 I was formally evaluated and diagnosed with GD. My hope ,
for living i

this point was to live as a woman. I could no longer endure the

thought of living as a man. On December 12th, 2016 I was started on HRT in accordance
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with Correctional Managed Health Care(CMHC) Policy G-51.11 "TREATMENT OF OFFENDERS
WITH INTERSEX CONDITIONS OR GENDER DYSPHORTA FORMALLY KNOWN AS GENDER IDENTITY
DISORDER."| This policy is established by the Correctional Managed Health Care
Committee (CMHCC) . G-51.11 provides for one treatment option for GD, and one treatment
option only, HRT. There is in effect a blanket ban on all other treatment options

for GD Pne pacing Gender Role and Expression irregardless af an individual patient's
needs. I started receiving HRT on December 12th, 2016.

“12, Tocd and the Gender Specialists do not provide for a full treatment plan for
QD. They nyovide HRT and occassionally note that there is a need for additional
care, but it stops there. Someone such as myself in the world would have hair
Temoval, changes in gender role and expression, HRT, and then finally Sexual
Reassignment Surgery. A Treatment plan could involve other things such as voice
therapy (which I could benefit from). A full Treatment plan would be tailored
to the needs of the individual and not one size fits all. It is the same with

other medical conditions. For cancer you might need surgery, radiation, or chemo, you

Might need ja combination of all three, it depends on your needs and a one size

 

fits all approach isn't appropriate.

13. Beginning in 2018 and continuing to present the GD Specialists have noted
self-harm, self-mutilation, and suicidal ideation in’ me regarding gender role

and expression and have noted that I could benefit from being able to express
myself as female, Currently I am being forced to dress and grogam as a man according
to TDCI Policy. But the Gender Specialists are not able to provide this care which

is the very first treatment option listed in the Standards of Care (SOC) put out

by the World Professional Association of Transgender Health (WPATH). The SOC represents.

the generally accepted standards of care in treating GD and is even referenced
in CMHC Policy G-51.11.
1h, The Gender Specialists are not allowed to develop an individual treatment plan.

G-51.11 only allows for HRT and serves as a blanket ban on all other treatments.
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In my case they have both expressed a desire to assist me with gender expression
but are nat allowed to do sa. Dr. Gordan even noted that she brough my case tao
the head of TDCI Psychiatry, Defendant Dr. Joseph Penn, but has not been able
to get mejhein. As af yet there is no full treatment plan. They have noted some

af what _ would help me and it has stopped there, even that is not being

implemented.

15. The First Gender Specialist to directly state in the medical record that I

could benefit from being able to express myself as female was Kayli Dozier, NP.

|

She then also noted the two areas I felt could help me best, longer hair and female
Clothing. I ather Gender Specialist, Jesse Gordon, D.0., has also noted in the
written recard that I have increased dysphoria related to gender expression and
even au my case before Dr. Joseph Penn in light of the significant distress

I am experiencing related to gender expression, but again that care is not provided.
16. I couch to have the recommended care provided after it was not provided by

the GD Specialists. The Dr. I met with actually tried to provide this care but

the CMHC system that the “CMHCC is responsible for would not allow her to provide .
this care. Upon grieving the issue they then relied upon TDCO policies to prevent
this care. | was told to address this through TDCJ channels which I did and they
relied upon DCJ Policies which Lorie Davis is responsible for.

17. Gender "[prsesnens as discussed with the Gender Specialists, has included;

hair, :-@lnthimg, and makeup. The Gender Specialists have both indicated a desire

 

to help me but they have informed me that they are not allowed to. They are prevented

by TDCI and GMHCC Policies and are even limited in what they are allowed to record

in my medical record.

1B. I have only included hair and clothing in this lawsuit because these areas

Cause me the host distress, are both mentioned in the record as causing me the

most distress, and are both were the two elements of gender expression that I explicityly

and fully grieved. 10

 

 
 

19. Living with GD in TDCI is for me.:my own place of torment to a degree not experienced
by other |prisoners. Two things occur, the first is that I am housed in an institution
that doesn't correspond to my gender identity and the second thing is the rigid
impasitidn of gender narms based not upon my gender identity but upon my sex assigned

at birth, I am forced: to: dress in male clothing and forced to groom with male

grooming standards, TDCJ has both femadie grooming standards aswell as female

Clothing

 

standards what could be applied to my care but they are not.

20. When jl am forced to dress and aroom as a man it destroys my self image and

I feel trapped in a male shell. It eradicates my female gender expression and I

feel distress ta the point that I want to die. It results in self-harm, self-mutilation,
and suicidal ideation. There is this huge discrepancy between my internal sense

of gender; identity and the forced cross gender expression. It is humiliating and
degrading|and this treatment is only inflicted on transgender prisoners. Cisgender
prisoners, that is prisoners whose gender identity corresponds to their sex assigned

at birth are allowed to dress and groom in a way that reflects their gender identity.
They aren{t forced to endure the humiliation of forced cross gender expression.

21. I am lenets trying to live as any other female prisoner, When 7 am forced

tao live as a male prisoner it reinforces the shame in my body, in being born into

a body shal doesn't match who T "know" that I am. It compounds the distress that

I already |Feel.

22. When Ii am forced to groom as a man my identity is stripped away from me and

my body is degraded and humiliated. It feels like an act of violence and I almost
always self-harm afterwards.

23. In the| world I dressed as a woman when able to do so because it gave me the
feeling of) being an the autside what I was on the inside and it reduced my distress
from GD. I|hOQMe stopped wearing boxers in here despite that it is the only underwear

either provided or available for purchase. Now that I'm castrated it feels even

more completely innappropriate to wear them. Dressing as my gender gives me self
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esteem and reduces the distress that I feel being in the wrong body.

24. TDCI has female grooming and female clothing standards which if applied ta

my care w uld allow me to receive the beneficial treatment that the GD Specialists
believe would help me, but T have not been allowed to use these standards and policies.
lorie mt is responsible for the TDCI Policies and the CMHCC is responsible

for the medical policies. The fiedical policies and TDCJ's nolicies prevent the
Gender Specialists from providing needed care based upon my particular medical
needs. The care isn't pravided, not because it isn't medically necessary, but

|

Simply because of policy and the deliberate indifference to a serious medical

Need. I am) seeking to have this care provided.

25. The GD! Specialists and Dr. Penn are aware that the imposition of male grooming
and clothing eradicates my female gender role and expression causing extreme distress,
actual hart) through self-harm and self-mutilation, and a substantial risk af serious
harm through suicidal ideation. This has been documented in my medical record,

26. TDCI ala the Gender Specialists do not provide a full treatment plan for GD

based upon jindividual need. There is a blanket ban on all treatments other than

HRT and so assessment isn't properly done for the other treatments based upon
individual meed. In my case they have noted the need for additional care but have

not provided that care o€ done a proper evaluation to explore what care is needed.

In addition| ta receiving the recommended treatment as already noted I am asking

that they make an individual determination of my needs and tht this; care be provided

as needed.

DEFENDANT LORIE DAVIS

 

|
27, netandet Lorie Davis, TDCJ-CID Director, is responsible for the creation
and cannes dor of both male and female grooming and ciothing policies and is

responsible |for the humane treatment of inmates. When it was noted that I could

 

benefit from the provision of longer hair and female clothing I sought to have

this care i plemented, namely the allowance to use the female grooming standards
12

 
and the |provision of female clothing as provided to female inmates. It was the
imposition of male clothing and grooming policies on myself which were relied

upon in |the denial of praviding this care. These policies tank ajay the ability

of doctors to use their clinical judgement with respect to conditions that are
Significant, especially when it pertains to medically necessary treatment. The
provision af female gender expressian through the use of female grooming and clothing
policies was not denied because it wasn't medically necessary, nor was the denial
based upon an informed medical judgement, it was denied as a matter of policy

which “ee informed medical judgement from taking place and necessary medical

care provided. Lorie Davis created a policy or custom under which ‘unconstitutional

practices occurred and allowed the continuance of such a policy or custom,

LANNETTE CINTHICUM TDCI HEALTH SERVICES DIV. DIR AND OTHER CORRECTIONAL
MANAGED HEALTH CARE COMMITTEE MEMBERS, ROBERT D. BARROW, BEN 'RAIMER,
CYNTHIA JUMPER, ERIN WYRICK, PRESTON JOHNSON, PARKER HUDSON III,

JOHN BURMUSA, AND KELLY GARCIA

 

28. Defendant Lannette Linthicum and the other CMHCC Board Members are responsible

for Policy G-51.11 and the provision of health care to myself, the’ plaintiff.

They were responsible for a policy which operated as a blanket ban: on all treatment
aptions for GD other than HRT, thus prohibiting medical staff from making a Medical
determination of an individual inmate's medical needs for GD and from:prescribing

adequate care to treat those needs. Under this policy plaintiff was denied adequate
treatment,| not because it wasn't medically necessary, but because it conflicted

with policy. they NS pnot provided services to the plaintiff sufficient to diminish

the intense emotional distress and the related risks of suicide and self-mutilation,

ta the point at which I would na langer be at a substantial risk of serious harm,

The veistle and practices which they were responsible for took away the ability
of doctors!to use their clinical judgement with respect to conditions that are
vate wh especially when it pertains to medically necessary treatment. They

created a policy or custom under which unconstitutional practices acecurred and

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allowed the continuance of such a policy or custom.

29. Dr. J
Policy G-
and contr
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brought m
30, Dr. 3
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and the p
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care. The

plaintiff

sufficien

 

DEFENDANT DR. JOSEPH PENN

gseph Penn supervises the Gender Specialists and the implementation of
51.11. He directly limits what treatments can be nrescribed and provided
ols how patient's needs are evaluated and recorded. He directly limits

if Specialists, In my particular case the Gender Specialists have even

case before him as they recognized my need for additional Care.

oseph Penn knowingly and unreasonably disregarded an intolerable risk

md will continue to do so. He oversees the implementation of Policy G-51.11
fovision of an easier and less efficacious treatment. He is aware of

for additional medical care and has intentionally refused’ to provide that
prevented medical providers from evaluating fully the needs of the

in regards to her treatment. They have not provided services to plaintiff

t to diminish the intense emotional distress, and the related risks of

suicide and self-mutilation, to the point at which I would no longer be at a

substanti

clinical

 

al risk of self-harm. They took away the ability of doctors to use their
| .

judgement with respect to conditions that are significant, especially

when it pertains to medically necessary treatment.

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ATTACHMENT TO SECTION VI RELIEF
1. Plaintiff seeks an injunction ordering TDCI to permit plaintiff the use af

female grooming standarde.and to no longer enforce male grooming standards on her.

 

2. Plaintiff seeks an injunction ordering TDCI to provide plaintiff with and

allow the use of all clothing approved for and provided to female inmates withing

TDCI.

3. Plaintiff seeks a declaratory judgement and injunction ordering the UTMB
Dr's and Gender Specialists to provide plaintiff with individualized care based
upon her specific needs for treatment of Gender Dysphoria.

4a, Plaintiff seeks a declaratory judgement and injunction ordering CMHCC, UTMB,
and TDCI ja craft and implement a new version of Policy G-51.11 that will provide
for individualized treatment of Gender Dysphoria based upon patients! needs.

5. Plaintiff seeks costs of suit.

6. Plaintiff seeks any other relief which the Court deems appropriate.

 

 

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C. Has any court ever warned or notified you that sanctions could be imposed? YES XXX NO

 

D. If your answer is “yes”, give the following information for every lawsuit in which warning was imposed.

" more than one, use another piece of paper and answer the same questions.)

 

. Court that imposed warning (if federal, give the district and division):

2. Case number:

 

 

p Approximate date warning were imposed:

Executell on: a 10/90 O , Lilly Anne Hopkins aka Samuel Hopkins
! Date) (Printed Name)
|

|

 

PLAINTIFF'S DECLARATIONS

| oa: .
1. [declare under penalty of perjury all facts presented in this complaint and attachment thereto are true and
orrect. ;

2. | understand if I am released or transferred, it is my responsibility to keep the Court informed of my
urrent mailing address and failure to do so may result in the dismissal of this lawsuit.

3. understand that I must exhaust all available administrative remedies prior to filing this lawsuit.

4. [ understand I am prohibited from bringing an in forma pauperis lawsuit if | have brought three or more
rivil actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits

are dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief

may be granted, unless | am under imminent danger or serious physical injury.

5. lTunderstand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
$350 filing fee and costs assessed by the Court, which shall be deducted in accordance with the law from the
inmate account by my custodian until the filing fee is paid.

|

Signed this loth __ day of Selo Losy , 20 av
(Day) (Month) . (Year)

Lilly Anne Hopkins aka Samuel Hopkins
| . (Printed Name)
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WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limbed to monetary sanctions and/or the dismissal of this action with prejudice.

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